          Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          )
                                                  )
                v.                                )
                                                  )
RICHARD W. GATES III,                             )             Crim. No. 17-201-2 (ABJ)
                                                  )
                Defendant.                        )


                     RESPONSE TO GOVERNMENT’S MOTION
               TO REVIEW REPRESENTATION OF DEFENDANT GATES

        This response is submitted in connection with the government’s Motion to Review

Representation of Defendant Gates, dated November 20, 2017 (“Gvmt Motion”), for a hearing

pursuant to United States v. Curcio, 680 F.2d 881 (2d Cir. 1982). The government argues that a

potential conflict of interest might arise from defense counsel’s representation of another

defendant in another criminal matter pending in a different jurisdiction, involving conduct

unrelated to the matters at issue in this case. United States v. Brown, No. 16 Cr. 436 (KMW).

        Because the two defendants are friends and have had business associations in the past, the

government imagines a situation where one defendant – for reasons it fails to articulate – might

be called to testify against the other, thereby creating a potential conflict of interest that should

be addressed in a Curcio hearing. However, in the same breath, the government concedes that

“the conduct for which Brown is charged in the Southern District of New York is separate and

apart from the charges pending in the instant action” (Gvmt Motion at 2) and that neither

defendant is reasonably expected to be called as a witness against the other. See Affirmation of

Walter Mack, dated November 30, 2017 (“Mack Aff.”) at ¶3.
          Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 2 of 6



                                           ARGUMENT

                                                  I.

                   THE GOVERNMENT HAS NOT MADE A
          THRESHOLD SHOWING OF THE NEED FOR A CURCIO HEARING

       The Sixth Amendment grants a defendant a fair opportunity to secure counsel of his own

choice. Luis v. U.S., 136 S.Ct. 1083, 1089 (2016). For this reason, “[c]hoice of counsel should

not be unnecessarily obstructed by the court.” United States v. Perez, 325 F.3d 115, 125 (2d Cir.

2003) (citations omitted). Indeed, “the Supreme Court has interpreted this right to include a

‘presumption in favor of counsel of choice.’” United States v. Lorenzana-Cordon, 125 F. Supp.

3d 129 (D.D.C. 2015), quoting Wheat v. United States, 486 U.S. 153, 164 (1988). For this

reason, “the government must ‘honor’ a defendant’s Sixth Amendment right to counsel: This

means more than simply that the State cannot prevent the accused from obtaining the assistance

of counsel. The Sixth Amendment also imposes on the State an affirmative obligation to respect

and preserve the accused’s choice to seek this assistance.” United States v. Stein, 541 F.3d 130,

154 (2d Cir. 2008), quoting Maine v. Moulton, 474 U.S. 159, 170-71 (1985).

       In this case, the government seeks to intrude upon the attorney-client relationship by

requesting a Curcio hearing based solely on the fact that the two defendants have had a business

relationship unrelated to the matters at issue in their respective cases. The government’s own

letter characterizes the scenario in which a future conflict might arise as “unlikely,” (Gvmt

Motion at 4) and “remote” (Id. at 8) and the charged conduct in each case as “separate and

apart.” (Id. at 2). The government further concedes it “does not, at present have reason to

believe Gates was directly involved in, or was a victim of the criminal conduct at issue in the

New York case.” (Id. at 3). Thus, as represented in the recent hearing before this Court, neither

defendant is presently expected to be a witness in the other’s trial:

                                                  2
          Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 3 of 6




        THE COURT...: So I wasn’t sure why you’re talking about possibilities. Is Mr. Brown a
        witness in your case?

        Mr. ANDRES: He’s not, Judge.

        THE COURT: And is Mr. Gates a witness in the New York case?

        MR. ANDRES: Not that I’m aware of. He’s not, judge.

See Excerpt of Transcript of Motions Hearing, dated November 21, 2017, at 17 (attached as

Exhibit “A” to the accompanying Mack Aff.).

        Under the government’s theory, if two defendants have had a business relationship – even

if unrelated to the matters at issue in their respective cases – this automatically triggers the need

for a Curcio hearing. Since the government’s request is premised on admittedly unlikely and

speculative future scenarios, the Court need not proceed to a Curcio hearing. United States v.

Levy, 25 F.3d 146, 153 (2d Cir. 1994) (the court may rely on counsel’s representations and if

“satisfied at the inquiry stage that there is no actual conflict or potential for one to develop, its

duty ceases”); United States v. Velez, 2006 WL 2621077 at *11 (S.D.N.Y. 2006) (no Curcio

hearing necessary where court found no actual or potential conflict). At the present, no actual or

potential conflict exists warranting an intrusion into the attorney-client relationship.

        As set forth in the accompanying Mack Aff., while defense counsel accedes to whatever

course of action the Court deems prudent, it bears noting that the government’s prolix and

speculative Curcio filings have damaged the defendants’ reputations and peace of mind, incited

intense media interest and inaccurate musings, affected public perceptions of their characters,

and cost them significant expense.




                                                   3
           Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 4 of 6



                                                  II.

                TO THE EXTENT THE COURT SHARES THE CONCERNS
                ABOUT THE POTENTIAL CONFLICTS HYPOTHESIZED
                BY THE GOVERNMENT, THE CONFLICT IS WAIVABLE

        Should the Court find it prudent to proceed with a Curcio hearing, the defense agrees

with the government’s position that there is no actual conflict of interest in this case (see United

States v. Salvagno, 343 Fed.Appx. 702 (2d Cir. 2009) (summary order) (an actual conflict of

interest must be more than “a mere theoretical division of loyalties,” id. at 704 quoting Mickens

v. Taylor, 535 U.S. 162, 171 (2002)) and that the scenario hypothesized by the government

involves, at most, a waivable “potential” conflict.

        The defense further agrees that, as emphasized by the Second Circuit, there are a “very

narrow category of cases in which [it has] held attorney conflicts to be unwaivable.” Perez, 325

F.3d at 126 (holding that attorney’s representation of defendant and his co-employee in separate

trials did not create conflicts of interest that were unwaivable). Indeed, it is well-settled that

“[l]esser conflicts, such an attorney’s representations of two or more defendants or his prior

representation of a trial witness are generally waivable.” Perez, 325 F.3d at 127; United States v.

Brown, 2007 WL 1655873 at *5 (D.D.C. 2007) (finding no actual conflict and permitting

defendants to waive “quite remote” potential conflict); see also Fed. R. Crim. P. 44(c) (requiring

district court to advise jointly-represented defendants in the same case of the potential for

conflicts of interest).

        The defense objects, however, to the extensive and highly intrusive nature of the

questions proposed by the government for the Court to pose to Mr. Gates. Instead, we urge the

Court to utilize the straightforward and more pertinent questions set forth in the accompanying




                                                   4
          Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 5 of 6



Mack Aff. at ¶ 9 to determine whether the defendant knowingly and intelligently waives the

potential conflict.

        These defendants, as do all defendants, resent the intrusion, public or otherwise, into the

private and confidential communications that undermine the sanctity of the attorney-client

relationship in our legal system. Such intrusions should be condoned only if absolutely

necessary.




                                                 5
          Case 1:17-cr-00201-ABJ Document 71 Filed 12/01/17 Page 6 of 6



                                          CONCLUSION

       For all the reasons set forth above and in the accompanying Mack Aff., the defense

challenges the necessity of a Curcio hearing at this time. However, if the Court finds it prudent

to proceed with one, counsel has already discussed the matter with both defendants and invited

their evaluation of the subject through independent counsel. Mack Aff. at ¶¶5, 8. Defense

counsel asks only that the Court’s inquiries reflect the sensitivity of the intrusions upon the

attorney-client relationship.

                                                      Respectfully submitted,

                                                      __/s/____________________
                                                      Walter Mack*
                                                      David Rivera
                                                      Doar Rieck DeVita Kaley & Mack
                                                      217 Broadway, Suite 707
                                                      New York, New York 10007
                                                      212-619-3730 (Telephone)
                                                      212-962-5037 (Facsimile)
                                                      Attorneys for Richard W. Gates III
                                                      *Admitted Pro Hac Vice


                                                      _/s/Shanlon Wu_______________
                                                      Shanlon Wu
                                                      D.C. Bar No. 422910
                                                      Wu, Grohovsky & Whipple, PLLC
                                                      Ronald Reagan Building and International
                                                      Trade Center
                                                      1300 Pennsylvania Avenue, NW, Suite 700
                                                      Washington, DC 20004
                                                      swu@dcwhitecollar.com
                                                      202-204-3053 office
                                                      202-747-7518 fax




                                                  6
